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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,             )                  CR.No. 14-10363-RGS
                                      )
                       Plaintiff      )
                                      )
            v.                        )
                                      )
MICHELLE THOMAS and KATHY S. CHIN,    )
                                      )
                       Defendants.    )
______________________________________)

DEFENDANT THOMAS and CHIN’s REPLY TO “GOVERNMENT’S PROPOSED NEUTRAL
                     DESCRIPTION OF THE CASE”


     Defendants MICHELLE THOMAS and KATHY CHIN, by and through

their respective attorneys of record, and for themselves alone, who

are charged with violations of the Food Drug and Cosmetic Act, to

wit: dispensing drugs without a valid prescription, submit this

reply to the government’s Proposed Neutral Description of the Case.

     Severance of the charges against these defendants may be the

only fair remedy if the government is going to present evidence of

injuries and death, as its summary of the case suggests:

     The indictment charges former owners and employees of the now-defunct New England
     Compounding Center, Inc., or NECC, with various criminal offenses following a wide-scale
     outbreak of fungal meningitis. The outbreak was traced back to contaminated vials of a drug
     called methylprednisolone acetate, or MPA, manufactured and sold by NECC. 793 people
     around the country died or suffered serious injuries after being injected with NECC’s
     contaminated drug.


     The government’s summary further suggests that the evidence in

the case will show that “[s]ome of the defendants are also charged


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with, or of violating provisions of the Food, Drug, and Cosmetic

Act    by    introducing        adulterated            contaminated            or    misbranded

drugs into interstate commerce, and dispensing drugs without valid

prescriptions” emphasis added.

       Ms. THOMAS and Ms. CHIN had nothing to do with the clean room,

the drugs therein, or any adulterated or contaminated drugs.

Once again, the government’s attempt in fashioning its case to

prejudice       all     defendants,        regardless         of    the     specific      charges

against each one of these defendants, raises questions of whether

severance       is    appropriate        and    necessary.         See      Zafiro   v.   United

States, 506 U.S 534, 539 (1993).



Date: September 21, 2018                                    Respectfully submitted,

Michelle Thomas                                                    Kathy S. Chin
By her Attorney                                                    By her Attorney

s/ Michael C. Bourbeau                                           /s/ Joan M. Griffin
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                                                   S/ Michael C. Bourbeau




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